             Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                                                        Case No. 1:21-cv-11530-ADB
                                         Plaintiff,

        v.

ZURICH AMERICAN
INSURANCE COMPANY,

                                         Defendant.



DECLARATION OF MARSHALL GILINSKY, ESQ. PURSUANT TO FEDERAL RULE
      OF CIVIL PROCEDURE 56(d) AND FOR EXPEDITED HEARING

        I, MARSHALL GILINSKY, ESQ., a member of the Bar of the Commonwealth of

Massachusetts, hereby declare under penalty of perjury as follows:

        1.         I am a shareholder at the law firm Anderson Kill, P.C., counsel to Plaintiff

President and Fellows of Harvard College (“Harvard”) in the above-referenced action. In that

capacity, I am personally familiar with the facts set forth below.

        2.         I respectfully submit this Declaration Pursuant to Federal Rule of Civil Procedure

56(d), in support of Harvard’s Motion Pursuant to Federal Rule of Civil Procedure 56(d) and for

Expedited Hearing to stay or deny the Motion for Summary Judgment of Defendant Zurich

American Insurance Company (“Zurich”) and permit Harvard time to conduct discovery.

        3.         Harvard makes this application without waiving its right to oppose Zurich’s

summary judgment motion on any grounds including, without limitation, an argument that the

evidence in documents already obtained raises genuine, triable issues of material fact sufficient




docs-100514663.3
             Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 2 of 9




to defeat Zurich’s motion, or that Zurich’s arguments fail as a matter of law to carry its initial,

threshold burden for purposes of summary judgment under Federal Rule of Civil Procedure 56.

        4.         Harvard requests additional discovery (discovery that Harvard has been seeking

for months) pursuant to Rule 56(d) that pertain to the arguments, and allegations fact of fact

upon which such arguments are premised, that Zurich has advanced as grounds for summary

judgment regarding the following issues:

                         Zurich’s knowledge of the underlying litigation Students for Fair
                          Admissions, Inc. v. President and Fellows of Harvard College (Harvard
                          Corporation), No. 1:14-cv-14176-ADB (the “SFFA Action”) during the
                          time period from November 2014 to January 30, 2016;

                         Zurich’s setting of insurance rates and premiums for the excess insurance
                          policies sold to Harvard from 2013 to 2017;

                         Zurich’s knowledge of the SFFA Action through its underwriting of
                          Harvard’s insurance and news media reports.

        5.         As detailed below, Harvard is entitled to but has not received the following

discovery, which it now also requests under Rule 56(d):

                         The identities of Zurich personnel with substantive knowledge of the
                          Harvard account at Zurich, including their direct and indirect supervisors;

                         Emails regarding the SFFA Action sent or received by the foregoing
                          individuals during the period from November 2014 through January 2016;

                         Zurich’s underwriting files from 2013-2018, which concern Zurich’s
                          knowledge of the SFFA Action and setting of rates and premiums for the
                          insurance sold to Harvard;

                         Information about Zurich’s preservation of materials prior to this litigation
                          in response to a March 10, 2021 litigation hold request by Harvard;

                         A deposition of Amauri Taveras, the Zurich underwriter responsible for
                          underwriting the excess insurance sold to Harvard during the relevant time
                          period, to: (1) inquire about Zurich’s underwriting and knowledge of
                          Harvard’s loss history; (2) authenticate and explain underwriting and other
                          documents produced by Zurich; and (3) inquire about the discovery topics
                          outlined above;


                                                    2
docs-100514663.3
             Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 3 of 9




                         A deposition of Russel Creighton, a Zurich underwriter, to: (1) inquire
                          about Zurich’s underwriting of Harvard’s excess insurance policies,
                          including for the discovery topics outlined above; and (2) authenticate and
                          explain underwriting and other documents produced by Zurich;

                         Depositions of individuals with substantive knowledge identified by
                          Zurich in response to Harvard’s discovery requests to: (1) inquire about
                          the discovery topics outlined above; and (2) authenticate and explain
                          documents produced by Zurich.

        6.         Harvard has not had an opportunity to conduct discovery into these issues.

Although Harvard received some documents from Zurich in a document production responsive

to document requests, those documents primarily consist of a “claim file” that was not created

until 2017, after the most important time period for assessing Zurich’s notice of the SFFA Action

from November 2014 through January 2016. Zurich has refused to identify key witnesses,

search for emails from those custodians, or produce underwriting documents not contained in

that “claim file.” Harvard has moved to compel discovery from Zurich and has not had the

opportunity to take depositions because Zurich has refused to produce the documents and

information at issue in that motion to compel.

        7.         The March 7, 2022 Scheduling Order in this case set a fact discovery completion

date of October 28, 2022. (Dkt. # 22). Accordingly, more than two months remain for fact

discovery under that Scheduling Order.

I.      THE FIRST CIRCUIT STANDARD

        8.         The U.S. Court of Appeals for the First Circuit has interpreted Rule 56(d) as

involving a “crucial inquiry” into whether the party seeking relief under that rule “has had a full

and fair opportunity to conduct discovery needed to mount an effective opposition to a summary

judgment motion.” Emigrant Residential LLC v. Pinti, 37 F.4th 717, 724 (1st Cir. 2022). Per the

First Circuit, Rule 56(d) “protects a litigant who justifiably needs additional time to respond in



                                                    3
docs-100514663.3
              Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 4 of 9




an effective manner to a summary judgment motion.” In re PHC, Inc. Shareholder Litig., 762

F.3d 138, 143 (1st Cir. 2014).

         9.        In Emigrant Residential, the First Circuit described the Rule 56(d) as requiring

                   a timely statement – if not by affidavit, then in some other authoritative
                   manner – that (i) explains [its] current inability to adduce the facts
                   essential to filing an opposition, (ii) provides a plausible basis for
                   believing that the sought-after facts can be assembled within a reasonable
                   time, and (iii) indicates how those facts would influence the outcome of
                   the pending summary judgment motion.

Emigrant Residential, 37 F.4th at 725 (citation omitted).

II.      FACTS SOUGHT BY HARVARD AND HOW THEY ARE TO BE OBTAINED

         10.       Harvard is entitled to discovery responsive to its Requests for Production of

Documents and First Set of Interrogatories, as further detailed in Harvard’s concurrently filed

Motion to Compel, pursuant to Rule 56(d). Harvard’s discovery requests are briefly described

below.

         A.        Harvard’s Document Requests

         11.       Harvard served its Requests for Production of Documents on April 8, 2022.

Among other things, those document requests sought the production of underwriting materials

and documents aimed discovering proof of Zurich’s knowledge of the SFFA Action during the

time period between November 2014 and January 2016.

         12.       Zurich served written responses and objections to Harvard’s document requests

on May 20, 2022.

         13.       On June 28, 2022, Zurich made a limited production of documents that primarily

consisted of the “claim file” created in May 2017, other claim material after that timeframe, and

a copy of the insurance policy at issue. That “claim file” is made up mostly of voluminous

pleadings from the SFFA Action.


                                                    4
docs-100514663.3
            Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 5 of 9




        14.        Zurich had informed Harvard it was reviewing and also would produce emails

from Client Relationship Leader Susan Fortin, but Zurich moved for summary judgment before

producing those emails.

        15.        Harvard seeks documents pursuant to Rule 56(d) to show that Zurich had

knowledge of the SFFA Action during the time period between November 2014 and January

2016, and to determine what Zurich did with that knowledge when it set rates and premiums for

the excess insurance policies it sold Harvard going forward.

        B.         Harvard’s Interrogatories

        16.        Harvard served its First Set of Interrogatories on April 8, 2022.

        17.        Zurich served written responses and objections to Harvard’s Interrogatories on

May 20, 2022.

        18.        In those responses, Zurich would not identify individuals at Zurich with

substantive knowledge of the Harvard account outside of select persons involved with claims

handling.

        19.        Harvard seeks the identity of individuals at Zurich with substantive knowledge of

the Harvard account and their direct and indirect supervisors in order to notice depositions of

persons who can testify about Zurich’s knowledge of the SFFA Action during the time period

between November 2014 and January 2016, and to determine what Zurich did with that

knowledge when it set rates and premiums for the excess insurance policies Zurich sold Harvard

going forward.

        C.         Deposition Discovery

        20.        Harvard has not had a reasonable opportunity to take depositions in this matter

given Zurich’s refusal to identify witnesses or produce basic documents responsive to Harvard’s



                                                     5
docs-100514663.3
              Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 6 of 9




discovery requests. Deposition testimony will be an efficient and effective means of determining

information about Zurich’s knowledge of the SFFA Action during the time period between

November 2014 and January 2016, and what Zurich did with that knowledge when it set rates

and premiums for the insurance policies it sold Harvard.

            21.    Harvard requests depositions of Amauri Taveras, Russel Creighton, and other

individuals at Zurich whose identities are not yet known, to obtain information necessary to

respond to Zurich’s motion for summary judgment; to discover information concerning Zurich’s

knowledge of the SFFA Action during the time period between November 2014 and January

2016; to ascertain what Zurich did with that knowledge when it set rates and premiums for the

insurance policies it sold Harvard; and to authenticate documents for use in summary judgment

or trial.

III.        EFFORTS BY HARVARD TO OBTAIN DISCOVERY AND WHY THOSE
            EFFORTS WERE UNSUCCESSFUL

            22.    Despite timely serving written discovery requests, Harvard has been unable to

obtain the critical discovery it seeks in this case. Zurich has refused to produce or undertake

searches for relevant, necessary information that Harvard requested.

            23.    Harvard engaged with Zurich in a discovery meet and confer process beginning in

early June 2022, and running until this month. That process is more fully detailed in Harvard’s

concurrently filed Motion to Compel. During that process, Zurich continually blocked the

crucial discovery sought by Harvard regarding Zurich’s knowledge of the SFFA Action prior to

January 30, 2016, and what Zurich did with that knowledge when setting rates and premiums.

            24.    Without that written discovery, Harvard is unable to take depositions of Zurich

personnel, many of whom are not even identified despite interrogatory requests seeking

identities.


                                                    6
docs-100514663.3
           Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 7 of 9




        25.        Zurich has moved for summary judgment at the same time that it is obstructing

the basic, relevant discovery sought by Harvard, in an effort to have Harvard’s case thrown out

without that evidence coming to light or being considered by the Court.

        26.        Because of Zurich’s refusal to produce relevant discovery, Harvard is filing a

Motion to Compel concurrent with this Rule 56(d) motion to compel discovery as follows:

                   (1) Identify Zurich personnel with substantive knowledge related to the Harvard

                   account since November 2014, and their direct and indirect supervisors in

                   accordance with Harvard’s Interrogatory Nos. 3 and 4;

                   (2) Run a targeted search for, and produce copies of, documents and

                   communications from November 17, 2014 to January 30, 2016 regarding the

                   SFFA Action in accordance with Harvard’s Document Request Nos. 6, 15, 17, 18

                   and 19;

                   (3) Produce copies of Zurich underwriting files for policy years 2014 to 2018 in

                   accordance with Harvard’s Document Request Nos. 5 and 7; and

                   (4) Provide a response to Harvard’s Interrogatory No. 5, asking Zurich to describe

                   what it did in response to Harvard’s March 10, 2021 letter, including whether

                   Zurich instituted a litigation hold as requested in that letter.

        27.        As set forth in Harvard’s Motion to Compel, Harvard has a need for further

discovery in this matter pertaining to issues that would seek to defeat the late notice defense on

which Zurich moves for summary judgment.

IV.     HARVARD CAN OBTAIN DISCOVERY IN A REASONABLE TIME

        28.        Harvard expects it can obtain the discovery it seeks herein from Zurich in a

reasonable time. Harvard is filing a motion to compel concurrent with its Rule 56(d) motion

targeting the written discovery Zurich as refused to produce. As set forth in detail in that motion

                                                      7
docs-100514663.3
            Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 8 of 9




to compel, the underwriting materials should be readily available to Zurich, as even the limited

documents produced by Zurich indicate they contain key documents are readily available in a

shared drive location.

          29.      Moreover, Harvard does not expect a targeted electronic search of the emails of

certain to-be-identified individuals, as requested in the Motion to Compel, to be time extensive.

          30.      In addition, Harvard should be able to notice and take the sought depositions

within a reasonable time after receiving the paper and electronic discovery requested from

Zurich.

V.        WHY THIS EVIDENCE WOULD SERVE TO DEFEAT ZURICH’S MOTION
          FOR SUMMARY JUDGMENT

          31.      Zurich seeks to avoid its coverage obligations to Harvard based on a late notice

defense. Harvard contends that Zurich did have notice of the SFFA Action during the relevant

time period, between November 2014 and January 30, 2016. See Complaint (Dkt. # 1) at ¶¶ 52-

54. At this stage, Zurich has argued that Harvard has not raised genuine issues of material fact

sufficient to overcome Zurich’s late notice defense as a matter of law.

          32.      Massachusetts law is clear that the purpose of a notice provision in a “claims

made” insurance policy, like the policy Zurich sold to Harvard, is to ensure that the insurance

company knows about claims at the end of the policy period and can set rates accordingly going

forward. See Tenovsky v. Alliance Syndicate, Inc., 424 Mass. 678, 680 (1997); Chas. T. Main,

Inc. v. Fireman’s Fund Ins. Co., 406 Mass. 862, 865 (1990); New England Env’tl Tech. v. Am.

Safety Risk Retention Grp., Inc., 738 F. Supp. 2d 249, 256 (D. Mass. 2010).

          33.      Given the notoriety of the SFFA Action and the widespread news reporting on it,

see Complaint (Dkt. #1) at ¶ 39, as well as Zurich’s relationship with Harvard and underwriting

on Harvard’s account (including regular reference to Harvard’s loss history), Harvard has


                                                    8
docs-100514663.3
           Case 1:21-cv-11530-ADB Document 36 Filed 08/23/22 Page 9 of 9




reasonable grounds to believe that further discovery requested herein (and in Harvard’s

concurrently filed Motion to Compel) will assist Harvard in defeating Zurich’s late notice

defense. Indeed, that further discovery is aimed at conclusively establishing that Zurich had

actual notice of the SFFA Action prior to January 30, 2016, and showing what Zurich did with

that knowledge when setting rates and premiums for Harvard’s excess insurance.

        34.        The documents already in Harvard’s possession demonstrate that there are

numerous underwriting materials in Zurich’s possession that it has failed or refused to produce,

including: (1) underwriting files; (2) loss runs and other loss data used in underwriting; and (3)

litigation summaries, news articles and press reports used during policy underwriting. That

material will help demonstrate Zurich’s knowledge of the SFFA Action during the period from

November 2014 to January 2016, and what Zurich did with that knowledge when it set rates and

premiums for the insurance sold to Harvard.

        35.        At a minimum, Harvard expects the additional, targeted discovery will result in a

genuine, triable issue of material fact sufficient to defeat Zurich’s motion for summary judgment.

At best, the discovery will defeat Zurich’s late notice defense as a matter of law.

        36.        Accordingly, each of the Rule 56(d) discovery requests for the production of

documents, identification of individuals, and depositions are targeted, relevant, and necessary for

clarifying the facts, and thus likely to assist Harvard in defeating the late notice defense that is

the basis for Zurich’s summary judgment motion, or in raising genuine, triable issues of material

fact sufficient to defeat that motion.

        I declare under penalty of perjury that the foregoing is true and correct.

Executed:          August 23, 2022
                   Chilmark, Massachusetts

                                                _/s/ Marshall Gilinsky____
                                                     Marshall Gilinsky

                                                    9
docs-100514663.3
